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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

FEDERAL INSURANCE COMPANY, )

)

Plaintiff, j

Vv. ) NO. 1:08-cv-2128

)
QUINCY BIOSCIENCE, LLC and ) Judge Kennelly
MARY ANN RIKSHEIM )

) Magistrate Judge Nolan

Defendant.

FIRST AMENDED COMPLAINT FOR DECLARATORY JUDGMENT
NOW COMES, the Plaintiff, FEDERAL INSURANCE COMPANY, (hereinafter
“Federal”) by and through its attorneys, TRESSLER, SODERSTROM, MALONEY, & PRIESS,
and as its First Amended Complaint for Declaratory Judgment against Defendants, QUINCY
BIOSCIENCE, LLC AND MARY ANN RIKSHEIM, alleges as follows:'

NATURE OF THE ACTION AND RELIEF SOUGHT

1. This is an action for declaratory relief pursuant to 28 U.S.C. §§ 2201 and 2202.

2. Plaintiff seeks a declaration that it owes neither a duty to defend nor a duty to
indemnify with regard to a putative class action lawsuit filed against Quincy Bioscience, LLC
styled Mary Ann Riksheim v. Quincy Bioscience, No. 08 CH 2226 (Circuit Court of Cook

County, Illinois) (hereinafter the “Riksheim suit”).

 

' Federal was granted leave to file this First Amended Complaint by minute order dated April 18, 2008. (Doc. No.
5).
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PARTIES, JURISDICTION AND VENUE

Plaintiff Federal lisurance Company

3. Federal is a corporation organized and existing under the laws of the State of
Indiana with its principal place of business in New Jersey. Federal is and was authorized to do
business and was actually doing business at all relevant times in Illinois.

Defendant Quincy Bioscience, LLC

4, According to its Articles of Organization on file and available to the public at the
Wisconsin Department of Financial Services, Defendant Quincy Bioscience, LLC is a Limited
Liability Company that was originally organized under the name ORC Bioscience, LLC. (See
Exhibit A).

5. According to its Articles of Amendment on file and available to the public at the
Wisconsin Department of Financial Services, Defendant, QRC Bioscience, LLC changed its
name on or about December 20, 2005 to Quincy Bioscience, LLC. (See Exhibit B).

6. Quincy Bioscience, LLC’s operating agreement 1s not a public record and is not
available at the Wisconsin Department of Financial Services.

7, Although the operating agreement is not available, other public information cited
below establishes that there are only three possible members of Quincy Bioscience, LLC: (1)
Mark Underwood, (2) Mike Beaman and (3) Quincy Resource Group, Inc. As established
below, all three are domiciled in the State of Wisconsin and, for the purposes of diversity
jurisdiction, all three are citizens of the State of Wisconsin.

Mark Underwood

8. The Dun and Bradstreet Company Profile for Quincy Bioscience, LLC

(previously known as QRG Bioscience, LLC) identifies Mark Underwood as the “member.”

(See Exhibit C).
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9, The website maintained by Quincy Bioscience, LLC on April 24, 2008 also
identifies Mark Underwood as a “co-founder,” (See Exhibit D).

10. Mark Underwood is a citizen of the United States of America.

11. According to a Patent Application he submitted to the United States Patent and
Trademark Office (portions of which are attached hereto as Exhibit E), Mark Underwood lives in
Glendale, Wisconsin.

12. According to the Limited Liability Company Annual Report filed on April 10,
2008, Quincy Bioscience, LLC maintains its principal office at 455 Science Drive, Suite 120,
Madison, Wisconsin. (See Exhibit F).

13. According to an interview with Mark Underwood published in the University of
Wisconsin Business News Wire, Quincy Bioscience, LLC also continues to maintain an office in
Richfield, Wisconsin. (See Exhibit 6).

14. As President and Co-Founder of Quincy Bioscience, LLC, Mark Underwood
works at the Madison and Richfield, Wisconsin locations.

15. Quincy Bioscience, LLC does not maintain offices outside of Wisconsin.

16. Based on the fact that he lives in Wisconsin, works in Wisconsin and owns a
business located only in Wisconsin, Federal alleges that Mark Underwood is physically present
in Wisconsin and intends to continue making his home in Wisconsin. Consequently, Mark
Underwood is a domiciliary of Wisconsin and is therefore a citizen of Wisconsin for the
purposes of the diversity jurisdiction analysis pertaining to Quincy Bioscience, LLC.

Mike Beaman
17. Quincy Bioscience, LLC’s website also identifies Mike Beaman as a “co-

founder” as well as president. (See Exhibit D).
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18. As co-founder and President of Quincy Bioscience, LLC, Mike Beaman works at
the Madison, Wisconsin and Richfield, Wisconsin locations.

19. Mike Beaman also owns a company called Quincy Resources Group, Inc.
According to this corporation’s website, Quincy Resources Group, Inc. conducts operations in

Richfield, Wisconsin and Jackson, Wisconsin. (See Exhibit H).

20, Mike Beaman is a citizen of the United States of America.
21. Mike Beaman lives in Wisconsin.
22. Based on the fact that he lives in Wisconsin, works in Wisconsin and owns at

least two businesses located in Wisconsin, Federal alleges that Mark Underwood is physically
present in Wisconsin and intends to continue making his home in Wisconsin. Consequently,
Mike Beaman is a domiciliary of Wisconsin and is therefore a citizen of Wisconsin for the
purposes of the diversity jurisdiction analysis pertaining to Quincy Bioscience, LLC.

Quincy Resource Group, Inc.

23. At least one media report states that QRG Bioscience, LLC (now known as
Quincy Bioscience, LLC) is a subsidiary of Quincy Resource Group. (See The Business Journal
of Milwaukee, July 18, 2005, attached hereto as Exhibit I).

24. Quincy Resource Group, Inc. is incorporated in Wisconsin. (See Certificate of
Status from Wisconsin’s Department of Financial Institutions, attached hereto as Exhibit J).

25. Quincey Resource Group, Inc.’s website confirms that its principal place of
business is in Jackson, Wisconsin. (See Exhibit H).

26. As it is incorporated in Wisconsin and maintains its principal place of business in
Wisconsin, Quincy Resource Group, Inc. is a citizen of Wisconsin for the purposes of the

diversity jurisdiction analysis pertaining to Quincy Bioscience, LLC.
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27. As established above, all possible members of Quincy Bioscience, LLC are
domiciled in Wisconsin and are all citizens of Wisconsin for the purposes of the diversity
jurisdiction analysis pertaining to Quincy Bioscience, LLC.

28. No member of Quincy Bioscience, LLC is a citizen of either Indiana or New
Jersey.

Defendant Mary Ann Riksheim

29, Defendant Mary Ann Riksheim is a citizen of the United States of America.

30. | Defendant Mary Ann Riksheim lives in Illinois.

31. According to the website maintained by the Illinois Department of Professional
Regulation on April 21, 2008, Defendant Mary Ann Riksheim is licensed by the State of Illinois
as a Clinical Social Worker. (See Exhibit K).

32. According to the website maintained by the Illinois Department of Professional
Regulation on April 21, 2008, Defendant Mary Ann Riksheim lives in Matteson, Illinois. (See
Exhibit K).

33. According to her professional website maintained on April 14, 2008, Defendant
Mary Ann Riksheim maintains offices and works in Olympia Fields, [linois. (See Exhibit L).

34. Defendant Mary Ann Riksheim is the plaintiff in the underlying Riksheim suit,
which she elected to file in the Circuit Court of Cook County, Illinois. In the Riksheim suit, she
seeks, among other things, the protection of the Illinois Consumer Fraud Act. (See Exhibit M).

35. Based on the fact that she lives in Illinois, is licensed by the State of [linois to
serve as a clinical social worker in Illinois, works in Illinois, and owns a business in Illinois,
Federal alleges that Defendant Mary Ann Riksheim is physically present in Illinois and intends

to continue making her home in [linois. Consequently, Defendant Mary Ann Riksheim is a
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domiciliary of Illinois and is therefore a citizen of Illinois for the purposes of diversity
jurisdiction.

36. Defendant Mary Ann Riksheim is joined in this action only as a potential
necessary party.

37. This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. §
1332. The defendants are citizens of Wisconsin and Illinois, whereas plaintiff is a citizen of
Indiana and New Jersey. The amount in controversy is in excess of $75,000.00.

38. The total policy limits at issue in this insurance coverage action equal
$1,000,000.00, A detailed description of the policies at issue is set forth in further detail below.
(See Exhibit N).

39. Moreover, the potential cost of defense is substantially certain to exceed
$75,000.00 because Quincy will have to undertake a number of tasks to defeat the allegations in
the underlying class action suit, including, but not limited to, preparation and analysis of
extensive discovery regarding class certification, depositions of critical witnesses regarding class
certification issues, preparation of opposition to a class certification motion, preparation and
analysis of written discovery regarding liability and damages issues, depositions of numerous
class members regarding liability and damages issues, settlement analysis, trial preparation, trial,
and appeal,

40, Venue is proper in this Court pursuant to 28 U.S.C. § 1391 (a) and (c). The
underlying Riksheim suit is venued in Cook County, Hlinois, which is also where the alleged

facsimile transmission at issue was received. (See Exhibit M)
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THE FEDERAL POLICY
41. Federal issued primary commercial general Hability policy number 3584-96-38 to
Quincy Bioscience, LLC (hereinafter “Quincy”), with an effective period of April 15, 2007 to
April 15, 2008. A copy of the Federal policy is attached hereto as Exhibit N.
42. The Federal policy provides that Federal will pay damages that the insured
becomes legally obligated to pay by reason of liability:
« imposed by law; or
* assumed under an insured contract;
for “bodily injury” or “property damage” caused by an “occurrence” to which this
coverage applies.

43. The Federal policy provides further that this coverage only applies to such “bodily

injury” or “property damage” that occurs during the policy period.

44. The Federal policy also provides that Federal will pay damages that the insured
becomes legally obligated to pay by reason of liability:

e¢ imposed by law; or
® assumed in an insured contract;
for “advertising injury” or “personal injury” to which this coverage applies.

45, | The Federal policy further provides that this coverage only applies to such
“advertising injury” or “personal injury” caused by an offense that is first committed during the
policy period.

46. The Federal policy provides that Federal will have the right and duty to defend the

insured against a suit. However, the policy provides further that Federal has no duty to defend
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any person or organization against any suit seeking damages to which the insurance does not

apply.

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48.

49.

The Federal policy defines “bodily injury” as

“Bodily injury” means physical:

° injury;

¢ sickness; or

® disease;

sustained by a person, including resulting death, humiliation, mental anguish,

mental injury or shock at any time. All such loss shall be deemed to occur at the

time of the physical injury, sickness or disease that caused it.

The Federal policy defines “property damage” as:

“Property damage” means:

e physical injury to tangible property, including resulting loss of use of that
property. All such loss of use shall be deemed to occur at the time of the
physical injury that caused it; or

¢ loss of use of tangible property that is not physically injured. All such loss of
use shall be deemed to occur at the time of the occurrence that caused it.

Tangible property does not include any software, data or other information that is

in electronic form.

The Federal policy defines “advertising injury” as:

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“Advertising mjury” means injury, other than “bodily injury,” “property damage”

or “personal injury,” sustained by a person or organization and caused by an
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offense of infringing, in that particular part of your advertisement about your
goods, products or services, upon their:
e copyrighted advertisement; or
e registered collective mark, registered service mark or other registered
trademarked name, slogan, symbol or title.
50. The Federal policy defines “personal injury” as:

oo be,

“Personal injury” means injury, other than “bodily injury,” “property damage,” or
“advertising injury,” caused by an offense of:

A. false arrest, false detention or other false imprisonment;

B. malicious prosecution;

C. wrongful entry into, wrongful eviction of a person from or other
violation of a person’s right of private occupancy of a dwelling,
premises or room that such person occupies, if committed by or on
behalf of its landlord, lessor or owner;

D. electronic, oral written or other publication of material that:

1. libels or slanders a person or organization (which does not
include disparagement of goods, products, property or
services);

2. violates a person’s right of privacy; or

E. discrimination, harassment or segregation based on a person’s age,
color, national origin, race, religion or sex.

51. The Federal policy defines “occurrence” as an “accident, including continuous or

repeated exposure to substantially the same general harmful conditions.”
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52. The Federal policy contains an Information Distribution Laws Exclusion, which
provides:
With respect to all coverages under this contract, this insurance does not apply to any
damages, loss, cost or expense arising out of any actual or alleged violation of:
e the United States of America CAN-SPAM Act of 2003 or any law amendatory
thereof;
e the United States of America Telephone Consumer Protection Act (TCPA) of
1991 or any law amendatory thereof; or
e any other ordinance, regulation or statute relating to communicating,
distribution, publication, sending or transmitting of content, information or
material.
53. The Federal policy contains the following “expected or intended injury” exclusion
applicable to “bodily injury” or “property damage:”
This insurance does not apply to “bodily injury” or “property damage” arising out of an
act that:
e is intended by the insured; or
* that would be expected from the standpoint of a reasonable person in the
circumstances of the insured:
to cause “bodily injury” or “property damage”, even if the actual “bodily injury”
or “property damage” is of a different degree or type than intended or expected.”
54. The Federal policy contains the following “expected or intended injury” exclusion

applicable to “advertising injury” or “personal injury:”

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This insurance does not apply to “advertising injury” or “personal injury” arising
out of an offense, committed by or on behalf of the insured, that:
* is intended by such insured; or
e would be expected from the standpoint of a reasonable person in the
circumstances of such insured;
to cause injury.

55. The Federal policy also excludes coverage for claims arising out of prior offenses.
The policy provides:

This insurance does not apply to “advertising injury” or “personal injury” arising
out of any offense first committed before the beginning of the policy period,
THE UNDERLYING SUIT

56. | Mary Ann Riksheim filed the Riksheim suit on January 17, 2007. A copy of the
complaint is attached hereto as Exhibit M.

57. ‘The plaintiff in the Riksheim Suit seeks damages and injunctive relief arising out
her receipt of an unsolicited facsimile in alleged violation of the Telephone Consumer Protection
Act (“TCPA”) and the Illinois Consumer Fraud Act (“ICFA”).

28. The plaintiff in the Riksheim suit also attempts to establish a class action suit on
behalf of certain similarly situated persons.

COUNT ONE
FOR DECLARATORY JUDGMENT ON THE DUTY TO DEFEND
59. Federal incorporates paragraphs 1 - 58 as if fully set forth herein.
60. Federal seeks a declaration that it does not owe a duty to defend to Quincy for the

following reasons:

1]
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A. The Information Distribution Laws Exclusion bars even the potential
for coverage for the Riksheim suit,
B. The Riksheim suit does not allege “bodily injury,” “property

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damage,” “personal injury,” or “advertising injury” as those terms
are defined in the policy.
C. Even if the Riksheim suit did allege “bodily injury,” “property

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damage,” “advertising injury,” or “personal injury,” which it does
not, the Expected or Intended Exclusions bar coverage,

D. Even if the Riksheim suit did allege “bodily injury” or “property
damage,” which it does not, the suit does not allege an “occurrence.”

E. Even if the Riksheim suit did allege “advertising injury,” or
“personal injury,” which it does not, the Prior Offenses Exclusion
bars coverage.

F. The policies in question do not provide coverage for injunctive
relief, equitable relief or attorneys fees incurred by the underlying
plaintiffs.

COUNT TWO
FOR DECLARATORY JUDGMENT ON THE DUTY TO INDEMNIFY
61. Federal incorporates paragraphs 1 - 58 as if fully set forth herein.
62. Federal seeks a declaration that it does not owe a duty to indemnify to Quincy for the
following reasons.

A. The Information Distribution Laws Exclusion Bars coverage for the

Riksheim suit.

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B. The Riksheim suit does not involve “bodily injury,” “property

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damage,” “personal injury,” or “advertising injury” as those terms
are defined in the policy.
C. Even if the Riksheim suit did involve “bodily injury,” “property

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damage,” “advertising injury,” or “personal injury,” which it does
not, the Expected or Intended Exclusions bar coverage.

D, Even if the Riksheim suit did involve “bodily injury” or “property
damage,” which it does not, the suit does not involve an
“occurrence.”

E. Even if the Riksheim suit did involve “advertising injury,” or
“personal injury,” which it does not, the Prior Offenses Exclusion
bars coverage.

FP, The policies in question do not provide coverage for injunctive
relief, equitable relief or attorneys fees incurred by the underlying

plaintiffs.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Federal Insurance Company respectfully requests that judgment

be entered in its favor and against Quincy as follows:

A.

Declaring that Federal does not owe a defense obligation to Quincy with regard to the
Riksheim suit:

Declaring that Federal does not owe an indemnity obligation to Quincy with regard to
the Riksheim suit;

Awarding Federal the costs of this suit; and

Awarding Federal such other and further relief as the Court deems just.

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FEDERAL INSURANCE COMPANY

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